     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 1 of 26 Page ID #:15



 1   E. MARTIN ESTRADA

 2
     United States Attorney
     MACK E. JENKINS                                               6/6/2023
     Assistant United States Attorney
                                                                        CD
 3   Chief, Criminal Division
     JEFF MITCHELL (Cal. Bar No. 236225)
 4   Assistant United States Attorney
     Major Frauds Section
 5   DAN G. BOYLE (Cal. Bar No. 332518)
     Assistant United States Attorney
 6   Asset Forfeiture & Recovery Section
          1100 United States Courthouse
 7        312 North Spring Street
          Los Angeles, California 90012
 8        Telephone: (213) 894-0698/2426
          Facsimile: (213) 894-6269/0141
 9        E-mail:    jeff.mitchell@usdoj.gov
          E-mail:    daniel.boyle2@usdoj.gov
10
     Attorneys for Plaintiff
11   UNITED STATES OF AMERICA

12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,               No. CR   2:23-cr-00284-SPG

15             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             WILLIAM ERIC FULTON
16                   v.

17   WILLIAM ERIC FULTON,
       aka “Eric Fulton,”
18
               Defendant.
19

20

21             This constitutes the plea agreement between WILLIAM ERIC
22   FULTON, also known as “Eric Fulton,” (“defendant”) and the United
23   States Attorney’s Office for the Central District of California (the
24   “USAO”) in the investigation of defendant’s conduct with respect to
25   the Nix Gambling Business, as defined below.        This agreement is
26   limited to the USAO and cannot bind any other federal, state, local,
27   or foreign prosecuting, enforcement, administrative, or regulatory
28   authorities.
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 2 of 26 Page ID #:16



 1                             DEFENDANT’S OBLIGATIONS

 2             Defendant agrees to:
 3             a.    Give up the right to indictment by a grand jury and,
 4   at the earliest opportunity requested by the USAO and provided by the
 5   Court, appear and plead guilty to a single-count information in the
 6   form attached to this agreement as Exhibit A or a substantially
 7   similar form, which charges defendant with Making False Statements,
 8   in violation of 18 U.S.C. § 1001(a)(2).
 9             b.    Not contest facts agreed to in this agreement.
10             c.    Abide by all agreements regarding sentencing contained
11   in this agreement.
12             d.    Appear for all court appearances, surrender as ordered
13   for service of sentence, obey all conditions of any bond, and obey
14   any other ongoing court order in this matter.
15             e.    Not commit any crime; however, offenses that would be
16   excluded for sentencing purposes under United States Sentencing
17   Guidelines (“USSG” or “Sentencing Guidelines”) § 4A1.2(c) are not
18   within the scope of this agreement.
19             f.    Be truthful at all times with the United States
20   Probation and Pretrial Services Office and the Court.
21             g.    Pay the applicable special assessment at or before the
22   time of sentencing unless defendant has demonstrated a lack of
23   ability to pay such assessments.
24             h.    Recommend that defendant receive, as part of his
25   sentence, a fine in an amount no less than $673,290 and not argue, or
26   suggest in any way, either orally or in writing, that a lower fine
27   amount be imposed.
28

                                          2
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 3 of 26 Page ID #:17



 1                i.   Agree, pursuant to USSG § 1B1.2(c), that the

 2   applicable offense guideline section for defendant’s offense is USSG

 3   § 2S1.1.

 4                             THE USAO’S OBLIGATIONS

 5                The USAO agrees to:
 6                a.   Not contest facts agreed to in this agreement.
 7                b.   Abide by all agreements regarding sentencing contained
 8   in this agreement.
 9                c.   At the time of sentencing, provided that defendant
10   demonstrates an acceptance of responsibility for the offense up to
11   and including the time of sentencing, recommend a two-level reduction
12   in the applicable Sentencing Guidelines offense level, pursuant to
13   USSG § 3E1.1, and recommend and, if necessary, move for an additional
14   one-level reduction if available under that section.
15                d.   Except for criminal tax violations (including
16   conspiracy to commit such violations chargeable under 18 U.S.C.
17   § 371), not further criminally prosecute defendant for violations of
18   18 U.S.C. §§ 1956 or 1957 arising out of defendant’s conduct
19   described in the agreed-to factual basis set forth in paragraph 9
20   below.     Defendant understands that the USAO is free to criminally
21   prosecute defendant for any other unlawful past conduct or any
22   unlawful conduct that occurs after the date of this agreement.
23   Defendant agrees that at the time of sentencing the Court may
24   consider the uncharged conduct in determining the applicable
25   Sentencing Guidelines range, the propriety and extent of any
26   departure from that range, and the sentence to be imposed after
27   consideration of the Sentencing Guidelines and all other relevant
28   factors under 18 U.S.C. § 3553(a).
                                          3
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 4 of 26 Page ID #:18



 1                              NATURE OF THE OFFENSE

 2             Defendant understands that for defendant to be guilty of
 3   the crime charged in the single-count information, that is, Making
 4   False Statements, in violation of Title 18, United States Code,
 5   Section 1001(a)(2), the following must be true:
 6             a.    Defendant made a false statement;
 7             b.    The statement was made in a matter within the
 8   jurisdiction of a federal law enforcement agency;
 9             c.    The defendant acted willfully; that is, the defendant
10   acted deliberately and with knowledge both that the statement was
11   untrue and that his conduct was unlawful; and
12             d.    The statement was material to the activities or
13   decisions of the law enforcement agency; that is, it had a natural
14   tendency to influence, or was capable of influencing, the agency’s
15   decisions or activities.
16                                     PENALTIES
17             Defendant understands that the statutory maximum sentence
18   that the Court can impose for a violation of 18 U.S.C. § 1001(a)(2),
19   is: five years’ imprisonment; a three-year period of supervised
20   release; a fine of $250,000 or twice the gross gain or gross loss
21   resulting from the offense, whichever is greatest; and a mandatory
22   special assessment of $100.
23             Defendant understands that supervised release is a period
24   of time following imprisonment during which defendant will be subject
25   to various restrictions and requirements.        Defendant understands that
26   if defendant violates one or more of the conditions of any supervised
27   release imposed, defendant may be returned to prison for all or part
28   of the term of supervised release authorized by statute for the
                                          4
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 5 of 26 Page ID #:19



 1   offense that resulted in the term of supervised release, which could

 2   result in defendant serving a total term of imprisonment greater than

 3   the statutory maximum stated above.

 4                Defendant understands that, by pleading guilty, defendant
 5   may be giving up valuable government benefits and valuable civic
 6   rights, such as the right to vote, the right to possess a firearm,
 7   the right to hold office, and the right to serve on a jury. Defendant
 8   understands that he is pleading guilty to a felony and that it is a
 9   federal crime for a convicted felon to possess a firearm or
10   ammunition.     Defendant understands that the conviction in this case
11   may also subject defendant to various other collateral consequences,
12   including but not limited to revocation of probation, parole, or
13   supervised release in another case and suspension or revocation of a
14   professional license.     Defendant understands that unanticipated
15   collateral consequences will not serve as grounds to withdraw
16   defendant’s guilty plea.
17           8.   Defendant understands that, if defendant is not a United
18   States citizen, the felony conviction in this case may subject
19   defendant to: removal, also known as deportation, which may, under
20   some circumstances, be mandatory; denial of citizenship; and denial
21   of admission to the United States in the future.         The Court cannot,
22   and defendant’s attorney also may not be able to, advise defendant
23   fully regarding the immigration consequences of the felony conviction
24   in this case.     Defendant understands that unexpected immigration
25   consequences will not serve as grounds to withdraw defendant’s guilty
26   plea.
27

28

                                          5
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 6 of 26 Page ID #:20



 1                                   FACTUAL BASIS

 2             Defendant admits that defendant is, in fact, guilty of the
 3   offense to which defendant is agreeing to plead guilty.          Defendant
 4   and the USAO agree to the statement of facts provided below and agree
 5   that this statement of facts is sufficient to support a plea of
 6   guilty to the charge described in this agreement and to establish the
 7   Sentencing Guidelines factors set forth in paragraph 11 below but is
 8   not meant to be a complete recitation of all facts relevant to the
 9   underlying criminal conduct or all facts known to either party that
10   relate to that conduct.
11        At times relevant to the Information:
12        The Department of Homeland Security, Homeland Security
13   Investigations (“HSI”) and the Internal Revenue Service – Criminal
14   Investigation Division (“IRS-CI”) in Los Angeles and the United
15   States Attorney’s Office (“USAO”) for the Central District of
16   California were conducting a federal criminal investigation into
17   federal crimes, including illegal sports gambling and money
18   laundering (the “Federal Investigation”).
19        Wayne Nix was a minor league baseball player from 1995 to 2001.
20   Sometime after 2001, Nix began operating an illegal bookmaking
21   business in the Los Angeles area that accepted and paid off bets from
22   bettors in California and elsewhere in the United States based on the
23   outcomes of sporting events at agreed-upon odds (the “Nix Gambling
24   Business”).   Through contacts he had developed during his own career
25   in professional sports, Nix created a client list of current and
26   former professional athletes, and others.        Nix used agents, including
27   Agents 1 and 2, to place and accept bets from others for the Nix
28   Gambling Business, thus expanding the business.         As part of the Nix
                                          6
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 7 of 26 Page ID #:21



 1   Gambling Business, Nix and his agents used a website called Sand

 2   Island Sports to create accounts through which wagers would be placed

 3   and tracked.

 4         Defendant was the founder and senior partner at a financial

 5   services company (“The Company”).        The Company provided bookkeeping,

 6   accounting, and tax preparation services to its clients.          Those

 7   clients included Nix, Agent 1, and Agent 2.        Specifically, The

 8   Company provided bookkeeping and accounting services to Nix and Agent

 9   1, in which it paid their bills and transferred money between

10   accounts.    Defendant also provided tax preparation services to Agent

11   2.   Nix had a personal and business account with Wells Fargo Bank.

12   Nix used the Wells Fargo business account, which was in the name

13   “Nixy Enterprises,” for the gambling business.          Defendant was an

14   authorized signer for both accounts and prepared and signed checks

15   for the accounts on Nix’s behalf.

16         The Nixy Enterprises bank account lacked activity consistent

17   with a legitimate business.     There were no typical business expenses

18   or income.   Most of the bank activity came in the form of deposits

19   and personal expenses such as car payments, travel, and food.           Nix’s

20   gambling clients typically deposited cash and wired money directly to

21   the Nixy Enterprises account.      Nix’s clients would also send personal

22   checks and cashier’s checks to Nix and/or The Company.          The “Pay to

23   the Order of” and memo lines of the personal checks were typically

24   left blank, except for a player in the National Football League who

25   wrote “investment” on the memo line of two checks.

26         Beginning no later than 2011, defendant was aware that Nix ran

27   an illegal gambling business.      Defendant nonetheless knowingly

28   laundered Nix’s illicit gambling proceeds by continuing to provide

                                          7
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 8 of 26 Page ID #:22



 1   financial services to Nix and providing access to the financial

 2   system.    Specifically, defendant continued to transfer money between

 3   accounts, issue checks and wires to Nix’s gambling clients who won

 4   large bets, and helped Nix obtain bank loans to facilitate the

 5   gambling business.    Between 2010 and 2020, defendant charged Nix

 6   approximately $336,645 in professional fees for his financial

 7   services.

 8        In addition, defendant further participated in the gambling

 9   business by providing three personal loans to Nix totaling $1,250,000

10   to allow Nix to pay his gambling clients when Nix needed rapid access

11   to liquid funds, which defendant agreed to provide at no cost to Nix.

12   Specifically, On March 23, 2011, defendant wired $500,000 from his

13   personal account at City National Bank to Nixy Enterprises.           Next, on

14   March 6, 2018, defendant wired Nix another $250,000.          Three days

15   later, The Company wired $250,000 from Nix’s account to one of Nix’s

16   clients.    Finally, on October 10, 2019, defendant sent a $500,000

17   wire from his personal account directly to another of Nix’s gambling

18   clients.    Defendant knew the purpose of all three loans was to allow

19   Nix to pay his gambling clients.

20        Defendant also placed personal bets with Nix.         For example, on

21   November 12, 2016, Nix sent a text message to defendant and provided

22   him the URL for the Sand Island Sports website.         Defendant replied,

23   “Thanks...what’s my username.”      Nix replied, “R159.”      That same day,

24   defendant placed 14 bets, including three bets on a professional

25   match of a client of The Company.

26        In addition, defendant also referred at least one client of The

27   Company to Nix for the purposes of illegal gambling.          Specifically,

28   on August 10, 2018, a client of The Company emailed defendant and

                                          8
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 9 of 26 Page ID #:23



 1   asked for the name of defendant’s “sports bookie.”         That same day,

 2   defendant sent Nix a text message and asked, “[a]re you taking on new

 3   clients[.] One of my celebrity clients needs your help but doubt

 4   he’ll be a significant client.”      Defendant then provided Nix the name

 5   of his celebrity client, and Nix told defendant to provide Nix’s name

 6   and phone number to the celebrity client.

 7        On October 8, 2021, defendant was interviewed in the presence of

 8   his attorney by HSI, IRS-CI, and the USAO regarding the Federal

 9   Investigation.   At the beginning of the interview, a Special Agent

10   from IRS-CI admonished defendant that lying to federal law

11   enforcement agents is a crime, and defendant stated that he

12   understood.   During the interview, defendant made several false

13   statements to the agents that he knew were false and were material to

14   the investigation.    For example, defendant stated that he believed

15   Nix was a consultant or concierge and denied all knowledge of Nix’s

16   involvement in Sports Gambling and the Sand Island Sports website.

17   Defendant also stated that he had no knowledge that Nix was a

18   bookmaker until Nix called him and told him that law enforcement

19   searched his home on February 7, 2020.       Defendant also repeatedly

20   stated that he never placed a bet with Nix.

21                                SENTENCING FACTORS

22             Defendant understands that in determining defendant’s
23   sentence the Court is required to calculate the applicable Sentencing
24   Guidelines range and to consider that range, possible departures
25   under the Sentencing Guidelines, and the other sentencing factors set
26   forth in 18 U.S.C. § 3553(a).      Defendant understands that the
27   Sentencing Guidelines are advisory only, that defendant cannot have
28   any expectation of receiving a sentence within the calculated
                                          9
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 10 of 26 Page ID #:24



 1   Sentencing Guidelines range, and that after considering the

 2   Sentencing Guidelines and the other § 3553(a) factors, the Court will

 3   be free to exercise its discretion to impose any sentence it finds

 4   appropriate up to the maximum set by statute for the crime of

 5   conviction.

 6              Defendant and the USAO agree to the following applicable
 7   Sentencing Guidelines factors:
 8      Base Offense Level:           12 USSG §§ 2S1.1(a)(1); 2E3.1(a)(2);
 9                                        1B1.2 (a)
10   Defendant and the USAO reserve the right to argue that additional
11   specific offense characteristics, adjustments, and departures under
12   the Sentencing Guidelines are appropriate.
13              Defendant understands that there is no agreement as to
14   defendant’s criminal history or criminal history category.
15              Defendant and the USAO reserve the right to argue for a
16   sentence outside the sentencing range established by the Sentencing
17   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
18   (a)(2), (a)(3), (a)(6), and (a)(7).
19                         WAIVER OF CONSTITUTIONAL RIGHTS
20              Defendant understands that by pleading guilty, defendant
21   gives up the following rights:
22              a.    The right to persist in a plea of not guilty.
23              b.    The right to a speedy and public trial by jury.
24              c.    The right to be represented by counsel –- and if
25   necessary, have the Court appoint counsel -- at trial.          Defendant
26   understands, however, that, defendant retains the right to be
27   represented by counsel –- and if necessary, have the Court appoint
28   counsel –- at every other stage of the proceeding.
                                          10
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 11 of 26 Page ID #:25



 1              d.    The right to be presumed innocent and to have the

 2   burden of proof placed on the government to prove defendant guilty

 3   beyond a reasonable doubt.

 4              e.    The right to confront and cross-examine witnesses

 5   against defendant.

 6              f.    The right to testify and to present evidence in

 7   opposition to the charges, including the right to compel the

 8   attendance of witnesses to testify.

 9              g.    The right not to be compelled to testify, and, if

10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12              h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                         WAIVER OF APPEAL OF CONVICTION

16              Defendant understands that, with the exception of an appeal
17   based on a claim that defendant’s guilty plea was involuntary, by
18   pleading guilty defendant is waiving and giving up any right to
19   appeal defendant’s conviction on the offense to which defendant is
20   pleading guilty.     Defendant understands that this waiver includes,
21   but is not limited to, arguments that the statute to which defendant
22   is pleading guilty is unconstitutional, and any and all claims that
23   the statement of facts provided herein is insufficient to support
24   defendant’s plea of guilty.
25                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
26              Defendant agrees that, provided the Court imposes a term of
27   imprisonment within or below the range corresponding to an offense
28   level of 10 and the criminal history category calculated by the
                                          11
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 12 of 26 Page ID #:26



 1   Court, defendant gives up the right to appeal all of the following:

 2   (a) the procedures and calculations used to determine and impose any

 3   portion of the sentence, with the exception of the Court’s

 4   calculation of defendant’s criminal history category; (b) the term of

 5   imprisonment imposed by the Court, except to the extent it depends on

 6   the Court’s calculation of defendant’s criminal history category;

 7   (c) the fine imposed by the Court, provided it is within the

 8   statutory maximum; (d) to the extent permitted by law, the

 9   constitutionality or legality of defendant’s sentence, provided it is

10   within the statutory maximum; (e) the term of probation or supervised

11   release imposed by the Court, provided it is within the statutory

12   maximum; and (f) any of the following conditions of probation or

13   supervised release imposed by the Court: the conditions set forth in

14   Second Amended General Order 20-04 of this Court; the drug testing

15   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the

16   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

17              Defendant also gives up any right to bring a post-
18   conviction collateral attack on the conviction or sentence, except a
19   post-conviction collateral attack based on a claim of ineffective
20   assistance of counsel, a claim of newly discovered evidence, or an
21   explicitly retroactive change in the applicable Sentencing
22   Guidelines, sentencing statutes, or statutes of conviction.
23   Defendant understands that this waiver includes, but is not limited
24   to, arguments that the statute to which defendant is pleading guilty
25   is unconstitutional, and any and all claims that the statement of
26   facts provided herein is insufficient to support defendant’s plea of
27   guilty.
28

                                          12
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 13 of 26 Page ID #:27



 1                The USAO agrees that, provided (a) all portions of the

 2   sentence are at or below the statutory maximum specified above and

 3   (b) the Court imposes a term of imprisonment within or above the

 4   range corresponding to an offense level of 10 and the criminal

 5   history category calculated by the Court, the USAO gives up its right

 6   to appeal any portion of the sentence.

 7                       RESULT OF WITHDRAWAL OF GUILTY PLEA

 8                Defendant agrees that if, after entering a guilty plea
 9   pursuant to this agreement, defendant seeks to withdraw and succeeds
10   in withdrawing defendant’s guilty plea on any basis other than a
11   claim and finding that entry into this plea agreement was
12   involuntary, then (a) the USAO will be relieved of all of its
13   obligations under this agreement; and (b) should the USAO choose to
14   pursue any charge that was either dismissed or not filed as a result
15   of this agreement, then (i) any applicable statute of limitations
16   will be tolled between the date of defendant’s signing of this
17   agreement and the filing commencing any such action; and
18   (ii) defendant waives and gives up all defenses based on the statute
19   of limitations, any claim of pre-indictment delay, or any speedy
20   trial claim with respect to any such action, except to the extent
21   that such defenses existed as of the date of defendant’s signing this
22   agreement.
23                           EFFECTIVE DATE OF AGREEMENT
24                This agreement is effective upon signature and execution of
25   all required certifications by defendant, defendant’s counsel, and an
26   Assistant United States Attorney.
27

28

                                          13
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 14 of 26 Page ID #:28



 1                                BREACH OF AGREEMENT

 2              Defendant agrees that if defendant, at any time after the
 3   effective date of his agreement, knowingly violates or fails to
 4   perform any of defendant’s obligations under this agreement (“a
 5   breach”), the USAO may declare this agreement breached.           All of
 6   defendant’s obligations are material, a single breach of this
 7   agreement is sufficient for the USAO to declare a breach, and
 8   defendant shall not be deemed to have cured a breach without the
 9   express agreement of the USAO in writing.        If the USAO declares this
10   agreement breached, and the Court finds such a breach to have
11   occurred, then: (a) if defendant has previously entered a guilty plea
12   pursuant to this agreement, defendant will not be able to withdraw
13   the guilty plea, and (b) the USAO will be relieved of all its
14   obligations under this agreement.
15              Following the Court’s finding of a knowing breach of this
16   agreement by defendant, should the USAO choose to pursue any charge
17   that was either dismissed or not filed as a result of this agreement,
18   then:
19              a.    Defendant agrees that any applicable statute of
20   limitations is tolled between the date of defendant’s signing of this
21   agreement and the filing commencing any such action.
22              b.    Defendant waives and gives up all defenses based on
23   the statute of limitations, any claim of pre-indictment delay, or any
24   speedy trial claim with respect to any such action, except to the
25   extent that such defenses existed as of the date of defendant’s
26   signing this agreement.
27              c.    Defendant agrees that: (i) any statements made by
28   defendant, under oath, at the guilty plea hearing (if such a hearing
                                          14
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 15 of 26 Page ID #:29



 1   occurred prior to the breach); (ii) the agreed to factual basis

 2   statement in this agreement; and (iii) any evidence derived from such

 3   statements, shall be admissible against defendant in any such action

 4   against defendant, and defendant waives and gives up any claim under

 5   the United States Constitution, any statute, Rule 410 of the Federal

 6   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

 7   Procedure, or any other federal rule, that the statements or any

 8   evidence derived from the statements should be suppressed or are

 9   inadmissible.

10           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

11                                OFFICE NOT PARTIES
12              Defendant understands that the Court and the United States
13   Probation and Pretrial Services Office are not parties to this
14   agreement and need not accept any of the USAO’s sentencing
15   recommendations or the parties’ agreements to facts or sentencing
16   factors.
17              Defendant understands that both defendant and the USAO are
18   free to: (a) supplement the facts by supplying relevant information
19   to the United States Probation and Pretrial Services Office and the
20   Court, (b) correct any and all factual misstatements relating to the
21   Court’s Sentencing Guidelines calculations and determination of
22   sentence, and (c) argue on appeal and collateral review that the
23   Court’s Sentencing Guidelines calculations and the sentence it
24   chooses to impose are not error, although each party agrees to
25   maintain its view that the calculations in paragraph 11 are
26   consistent with the facts of this case.        While this paragraph permits
27   both the USAO and defendant to submit full and complete factual
28   information to the United States Probation and Pretrial Services
                                          15
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 16 of 26 Page ID #:30



 1   Office and the Court, even if that factual information may be viewed

 2   as inconsistent with the facts agreed to in this agreement, this

 3   paragraph does not affect defendant’s and the USAO’s obligations not

 4   to contest the facts agreed to in this agreement.

 5              Defendant understands that even if the Court ignores any
 6   sentencing recommendation, finds facts or reaches conclusions
 7   different from those agreed to, and/or imposes any sentence up to the
 8   maximum established by statute, defendant cannot, for that reason,
 9   withdraw defendant’s guilty plea, and defendant will remain bound to
10   fulfill all defendant’s obligations under this agreement.           Defendant
11   understands that no one –- not the prosecutor, defendant’s attorney,
12   or the Court –- can make a binding prediction or promise regarding
13   the sentence defendant will receive, except that it will be within
14   the statutory maximum.
15                             NO ADDITIONAL AGREEMENTS
16              Defendant understands that, except as set forth herein,
17   there are no promises, understandings, or agreements between the USAO
18   and defendant or defendant’s attorney, and that no additional
19   promise, understanding, or agreement may be entered into unless in a
20   writing signed by all parties or on the record in court.
21   //
22   //
23   //
24

25

26

27

28

                                          16
Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 17 of 26 Page ID #:31




      T+FGG.JUDIFMM                            
Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 18 of 26 Page ID #:32
Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 19 of 26 Page ID #:33
Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 20 of 26 Page ID #:34




                            EXHIBIT
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 21 of 26 Page ID #:35



 1

 2

 3

 4

 5

 6

 7

 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No. 2:23-cr-00284-SPG

11              Plaintiff,                   I N F O R M A T I O N

12              v.                           [18 U.S.C. § 1001(a)(2): Making
                                             False Statements]
13   WILLIAM ERIC FULTON,
       aka “Eric Fulton,”
14
                Defendant.
15

16        The United States Attorney charges:
17                             [18 U.S.C. § 1001(a)(2)]
18   A.   INTRODUCTIONARY ALLEGATIONS
19        At times relevant to this Information:
20        1.    Defendant WILLIAM ERIC FULTON, also known as “Eric Fulton,”
21   was an accounting professional and the founder of and senior partner
22   at a financial services company (“The Company”).         The Company
23   provided bookkeeping, accounting, and tax preparation services to its
24   clients.
25

26

27

28
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 22 of 26 Page ID #:36



 1        2.    The Department of Homeland Security, Homeland Security

 2   Investigations (“HSI”) and the Internal Revenue Service – Criminal

 3   Investigation Division (“IRS-CI”) in Los Angeles and the United

 4   States Attorney’s Office (“USAO”) for the Central District of

 5   California were conducting a criminal investigation into federal

 6   crimes, including illegal sports gambling and money laundering (the

 7   “Federal Investigation”).

 8        3.    The operation of a sports gambling business in California

 9   was prohibited by 18 U.S.C. § 1955 and California Penal Code § 337a.

10        The Wayne Nix Illegal Sports Gambling Business

11        4.    Wayne Nix was a resident of Orange County, California.             Nix
12   was a minor league baseball player from 1995 to 2001.
13        5.    Sometime after 2001, Nix began operating an illegal
14   bookmaking business in the Los Angeles area that accepted and paid
15   off bets from bettors in California and elsewhere in the United
16   States based on the outcomes of sporting events at agreed-upon odds
17   (the “Nix Gambling Business”).      Through contacts he had developed
18   during his own career in professional sports, Nix created a client
19   list that included current and former professional athletes and
20   others.
21        6.    Nix used agents to place and accept bets from others for
22   the Nix Gambling Business, including Agents 1 and 2.
23

24

25

26

27

28

                                            2
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 23 of 26 Page ID #:37



 1        7.     Sand Island Sports operated Internet sports gambling

 2   websites, including www.sandislandsports.com and www.betprestige.com

 3   (the “Sand Island Sports websites”), hosted on servers primarily

 4   located outside the United States.         The Sand Island Sports websites

 5   facilitated unlawful sports gambling by providing a platform to book

 6   makers to track bets placed by their clients.

 7        8.     Nix provided bettors with account numbers and passwords for

 8   the Sand Island Sports websites and directed the bettors to use the

 9   Sand Island Sports websites to place bets with the Nix Gambling

10   Business.

11        9.     Bettors would place bets online through the Sand Island

12   Sports websites, and through Nix, Agent 1, Agent 2, and others

13   working at Nix’s direction.

14        Defendant Provided Financial Services to Nix’s Gambling Business

15        10.    In approximately 2010, defendant FULTON met Nix and began
16   providing financial services to Nix.        Defendant FULTON also provided
17   financial services to Agents 1 and 2.
18        11.    Defendant FULTON and The Company provided bookkeeping and
19   accounting services to Nix and Agent 1, including paying their bills
20   and transferring money between accounts.
21        12.    Nix maintained a personal account and a business account
22   with Wells Fargo Bank.     Nix used his Wells Fargo business account for
23   the gambling business.      Defendant FULTON was an authorized signer
24   for both accounts and prepared and signed checks for the accounts on
25   Nix’s behalf.
26

27

28

                                            3
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 24 of 26 Page ID #:38



 1        13.    Beginning no later than 2011, defendant FULTON was aware

 2   that Nix ran an illegal gambling business.        Defendant FULTON

 3   nonetheless knowingly laundered Nix’s illicit gambling proceeds by

 4   continuing to provide financial services to Nix and providing access

 5   to the financial system.     Defendant FULTON continued to transfer

 6   money between accounts, issued checks and wires to Nix’s gambling

 7   clients who won large bets, and helped Nix obtain bank loans to

 8   facilitate the gambling business.

 9        Defendant Fulton Provided Loans to the Nix Gambling Business

10        14.    Defendant FULTON further participated in the gambling
11   business by providing three personal loans to Nix totaling $1,250,000
12   to allow Nix to pay his gambling clients when Nix needed rapid access
13   to liquid funds, which defendant FULTON agreed to provide at no cost
14   to Nix.    Defendant FULTON knew the purpose of all three loans was to
15   allow Nix to pay his gambling clients.
16        Defendant FULTON’s Use of the Nix Gambling Business
17        15.    On November 12, 2016, defendant FULTON received a Sand
18   Island Sports account from Nix.       That same day, defendant FULTON
19   placed 14 bets, including three bets on a professional match of a
20   client of The Company.
21        Investigation into Wayne Nix
22        16.    On October 8, 2021, defendant FULTON was interviewed in the
23   presence of his attorney by HSI, IRS-CI, and the USAO in connection
24   with the Federal Investigation and services provided by The Company
25   to Nix.    Defendant FULTON, through his counsel, requested that HSI
26   not record the interview.
27

28

                                            4
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 25 of 26 Page ID #:39



 1        17.   At the beginning of the interview, a Special Agent from

 2   IRS-CI admonished defendant FULTON that lying to federal law

 3   enforcement agents was a crime, and defendant FULTON stated that he

 4   understood.

 5   B.   FALSE STATEMENTS

 6        18.   On or about October 8, 2021, in Los Angeles County, within
 7   the Central District of California, in an interview affecting the
 8   Federal Investigation in the Central District of California, and in a
 9   matter
10   within the jurisdiction of the executive branch of the government of
11   the United States, namely, HSI, IRS-CI, and the USAO, defendant
12   FULTON knowingly and willfully made materially false statements and
13   representations to HSI, IRS-CI, and the USAO knowing that these
14   statements and representations were untrue:
15              (a)   Defendant FULTON falsely stated that Nix was a
16   consultant or concierge.     In fact, as defendant FULTON then knew, Nix
17   ran an illegal bookmaking business, defendant FULTON had provided Nix
18   several personal loans to allow Nix to pay his gambling clients, and
19   defendant FULTON had referred at least one of his own clients to Nix
20   for purposes of illegal gambling.
21

22

23

24

25

26

27

28

                                            5
     Case 2:23-cr-00284-DMG Document 7 Filed 06/06/23 Page 26 of 26 Page ID #:40



 1              (b)   Defendant FULTON falsely stated that he had never

 2   placed a bet online with Nix or Sand Island Sports.          In fact, as

 3   defendant FULTON then knew, defendant FULTON had received an account

 4   number from Nix and placed a series of bets online through Sand

 5   Island Sports, including bets on a sporting event involving one of

 6   defendant FULTON’s clients.

 7                                          E. MARTIN ESTRADA
                                            United States Attorney
 8

 9

10                                          MACK E. JENKINS
                                            Assistant United States Attorney
11                                          Chief, Criminal Division
12                                          RANEE A. KATZENSTEIN
                                            Assistant United States Attorney
13                                          Chief, Major Frauds Section
14                                          ALEXANDER B. SCHWAB
                                            Assistant United States Attorney
15                                          Deputy Chief, Major Frauds Section
16                                          JEFF MITCHELL
                                            Assistant United States Attorney
17                                          Major Frauds Section
18                                          DANIEL BOYLE
                                            Assistant United States Attorney
19                                          Asset Forfeiture & Recovery
                                            Section
20

21

22

23

24

25

26

27

28

                                            6
